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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )
                                         )
                Plaintiff,               )                 4:10CR3052
                                         )
          V.                             )
                                         )
MY TAN CAO,                              )                   ORDER
                                         )
                Defendant.               )
                                         )
                                         )


    IT IS ORDERED that:

    1.    The Motion to Allow Defendant to Wear Normal Attire at Trial (filing
          no. 35) is granted subject to reasonable security precautions.

    2.    The Motion in Limine (filing no. 37) will be taken up at the meeting with
          counsel immediately before trial.

    3.    The Motion for Additional Voir Time (filing no. 38) is denied.
          However, if counsel has a suggestion for how much additional time is
          needed, the undersigned will reconsider at the meeting with counsel
          immediately before trial should counsel desire to raise the issue again.

    DATED this 1st day of February, 2011.

                                        BY THE COURT:

                                        Richard G. Kopf
                                        United States District Judge
